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 1     Mark Gomez, Esq. (SBN 289164)
       Susan Murphy Esq. (SBN 185335)
 2     GOMEZ LAW, APC
 3     3250 Wilshire Blvd., Suite 1901
       Los Angeles, CA 90010
 4
       T (855) 219-3333/ F (818) 574-6730
 5     sm@gomezlawla.com
       info@gomezlawla.com
 6
 7     Attorney for Plaintiff,
 8     ANTHONY GIBSON

 9                 CALIFORNIA CENTRAL DISTRICT COURT
10       RIVERSIDE CALIFORNIA – GEORGE E. BROWN JR. COURTHOUSE
11
       ANTHONY GIBSON, an individual              Case No:
12
                     Plaintiff,
13
                                                  VERIFIED COMPLAINT FOR:
14                         vs.
                                                  (1) NEGLIGENCE;
15
       NEWREZ LLC dba SHELLPOINT                  (2) INTENTIONAL
16
       MORTGAGE SERVICING, a                         MISREPRESENTATION CAL.
17     Delaware limited liability company and
                                                     CIV. CODE §1709; §1710(1);
18     DOES 1 through 20, Inclusive;
                                                  (3) PROMISSORY ESTOPPEL; AND
19
                     Defendants.                  (4) VIOLATION OF THE BUSINESS
20
21
                                                     AND PROFESSIONS CODE

22                                                   §17200

23
24           COMES NOW Plaintiff Anthony Gibson by and through his counsel to
25
       complain against Defendant NEWREZ LLC dba SHELLPOINT MORTGAGE
26
27     SERVICING, a Delaware limited liability company (SHELLPOINT) for
28
       Negligence, Intentional Misrepresentation, Promissory Estoppel, and violation of

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                                      VERIFIED COMPLAINT
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 1     the Business and Professions Code §17200 regarding the property at 4928 Clover

 2     Place, Rancho Cucamonga California 91737 (Clover Place) for: 1) knowingly
 3
       deceiving plaintiff into believing he was entitled to a deferment and forbearance
 4
 5     and/ or modification for over two years, and 2) recorded a Notice of Default prior
 6
       to loss mitigation as required by .
 7
 8                                      INTRODUCTION

 9     1.    Normally, a mortgage servicer does not owe a duty of care to a borrower
10
       sufficient to support a negligence claim simply because they don’t modify his loan,
11
12     except, in situations such as here where the servicer makes false promises upon
13
       which the borrower relies, falsifies compliance with the foreclosure statutes, and
14
15     then pulls the rug out at the last minute after recording a notice of default so that

16     the borrower has no options left to refinance.
17
       2.    In this case, Defendant SHELLPOINT used the camouflage of Covid 19
18
19     relief to stop accepting Plaintiff’s ACH payments all the while knowing that he: 1)
20
       was not eligible for Covid relief by forbearance and deferment, and 2) he was not
21
22     eligible for other forms of modification because of his equity to debt ratio.

23     Defendant did this while enticing Plaintiff to believe that he was eligible for loss-
24
       mitigation so he would forgo refinancing, which his credit and equity would have
25
26     allowed him to do, encouraging him to allow his arrears to build up in reliance on a
27
       modification from Defendant, and then slapping with a Notice of Default before
28
       they actually conducted a review or gave him a denial of his eligibility.
                                                  -2-
                                         VERIFIED COMPLAINT
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 1     3.    After suspending his payments, which Defendant SHELLPOINT knew

 2     would not result in forbearance and deferment or modification, after allowing
 3
       Plaintiff to rely for over two years on their promises of forbearance and deferment
 4
 5     and/ or modification neither of which he was eligible for, Defendant
 6
       SHELLPOINT also recorded a Notice of Default with a fabricated Declaration of
 7
 8     Due Diligence by someone Plaintiff never spoke with that claimed that loss

 9     mitigation communication with Plaintiff had occurred even though such review
10
       did not occur until two months later.
11
12                                  LEGAL DESCRIPTION
13
       4.    The real property known as 4928 Clover Place, Rancho Cucamonga
14
15     California 91737 (Clover Place) that is the subject of this complaint is a single-

16     family home in the City of Rancho Cucamonga, County of San Bernardino, State
17
       of California, described as follows:
18
19           LOT 47 OF TRACT 12332-1, IN THE CITY OF RANCHO CUCAMONGA,
             COUNTY OF SAN BERNARDINO, STATE OF CALIFORNIA, AS PER MAP
20
             RECORDED IN BOOK 174, PAGES 34 THROUGH 39 INCLUSIVE OF MAPS, IN
21           THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY.
22
             APN: 1074-311-20-0-000.” (Exhibit A [Grant Deed 3-9-1998].)
23
24                                JURISDICTION AND VENUE
25
       5. This Court has proper jurisdiction over this matter as the acts giving rise to the
26
       allegations herein occurred, or failed to occur, in the City of Rancho Cucamonga,
27
28     State of California. (Cal. Code of Civil Procedure §760.040(a).) This Court has

                                                 -3-
                                        VERIFIED COMPLAINT
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 1     federal diversity jurisdiction pursuant to 28 U.S. Code §1332 because the amount in

 2     controversy exceeds the sum or value of $75,000.00, exclusive of interests and costs
 3
       and is between citizens of different states. 28 U.S. Code §1332(a)(1).
 4
 5                                           PARTIES
 6
       6.    Plaintiff, Anthony Gibson is the owner of Clover Place by grant deed.
 7
 8     (Exhibit A [Grant Deed 3-9-1998].)

 9     7.    Defendant NEWREZ LLC dba SHELLPOINT MORTGAGE SERVICING,
10
       a Delaware limited liability company (SHELLPOINT) is the mortgage servicer
11
12     servicing this loan with its principle place of its servicing business located in
13
       Greenville South Carolina. New Residential Mortgage LLC (Newrez) and its
14
15     owner New residential Investment Corporation each have a principle place of

16     business in New York. Shellpoint Mortgage Servicing provides mortgage loan
17
       servicing for institutional clients investing in portfolios of non-performing, re-
18
19     performing and sub-performing residential mortgage loans. It is based in
20
       Greenville, South Carolina.
21
22     8.    Plaintiff does not know the true names, capacities, or basis for liability of

23     defendants sued as Does 1 through Doe 20. Each fictitiously named Defendant is
24
       in some manner liable to the Plaintiff, or claims some right, title or interest in
25
26     Clover Place.
27
       //
28


                                                  -4-
                                         VERIFIED COMPLAINT
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 1                               GENERAL ALLEGATIONS

 2     9.    On March 9, 1998 Plaintiff purchased Clover Place. (Exhibit A [Grant
 3     Deed 3-9-1998].)
 4
       10.   On June 7, 2007, Plaintiff refinanced his mortgage on Clover Place with a
 5
 6     predatory subprime mortgage from Countrywide, dba America’s Wholesale lender,
 7
       in the amount of $1,050,000. (Exhibit B [Deed of Trust 6-7-2007].)
 8
 9     11.   In 2011, like many Americans that had received toxic loans in 2007,
10     Plaintiff sought out and received a loan modification from Bank of America.
11
       (Exhibit C [loan mod 7-19-2013].) Also, like many Americans, Plaintiff’s loan
12
13     modification had included a trial payment plan (TPP) and pursuant to this
14
       agreement Plaintiff had made three trial payments of $5,245.33 between 2011 and
15
16     2012. (Exhibit C [loan mod 7-19-2013 p. 3/8].)
17     12.   In his communications with Bank of America in December 2011, Plaintiff
18
       wondered why he received a 1098 for 2011 that did not include his trial payments,
19
20     and a representative of Bank of America Tammy Tipton assured him that his
21
       payments would be credited to his account in 2012 after he had completed his
22
23     three-month trial. (Exhibit D [Email Shellpoint 12-21-2011].) Plaintiff also
24     wanted to be sure that his trial payments were being applied to his outstanding
25
       balance since he did not see the payments reflected on his statement. (Exhibit D
26
27     [Email Shellpoint 12-21-2011].)
28


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                                       VERIFIED COMPLAINT
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 1     13.    Around 2017, Bank of America sold Plaintiff’s servicing rights to Bayview

 2     servicing. (Exhibit O [Mortgage Summary 11-11-2022].) Also in 2017,
 3
       Bayview began reporting Plaintiff with a 60-day delinquency which Plaintiff was
 4
 5     not aware of at the time, but which Plaintiff now believes was a result of Bayview
 6
       not crediting his trial payments pursuant to the TPP. Between his loan
 7
 8     modification in 2013, and 2017 when the servicing changed to Bayview, Plaintiff

 9     was not delinquent in any payments.
10
       14.    In early 2020, just before the Pandemic hit, Plaintiff alleges that Bayview
11
12     Servicing sold the servicing rights Plaintiff’s loan to Defendant SHELLPOINT and
13
       the improper 60-day delinquency carried over. Plaintiff is informed, believes, and
14
15     thereupon alleges that Defendant SHELLPOINT was aware of this delinquency

16     and, in fact, purchased Plaintiff’s servicing right precisely because of this
17
       delinquency since Defendant SHELLPOINT specifically invests in “non-
18
19     performing, re-performing and sub-performing residential mortgage loans” for
20
       purposes of benefitting from foreclosure. 1 Because non-performing or sub-
21
22     performing loans are the only loans for which Defendant SHELLPOINT purchases

23     servicing rights, Plaintiff is informed and alleges that Defendant knew on March
24
       30, 2022 that Plaintiff had an existing delinquency and therefore was ineligible for
25
26     forbearance and deferment and/ or modification.
27
28     1
         CB Insights, “About Shellpoint Mortgage Servicing,” available online at:
       https://www.cbinsights.com/company/shellpoint-mortgage-servicing

                                                     -6-
                                            VERIFIED COMPLAINT
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 1     15.   On March 30, 2020, not knowing about his falsely reported delinquency,

 2     Plaintiff applied for and received a notice that he was approved for a forbearance
 3
       by Defendant SHELLPOINT. (Exhibit E [email 3-30-2020].) At the time of this
 4
 5     “approval” Plaintiff is informed and alleges that Defendant SHELLPOINT knew
 6
       that Plaintiff did not qualify, according to Defendant SHELLPOINT’s criteria, for
 7
 8     any forbearance deferment or modification; firstly because of his delinquency and

 9     second because his net equity to debt ratio was too high for modification and could
10
       only be refinanced. Pursuant to this forbearance relief for which Defendant knew
11
12     Plaintiff was not entitled, Defendant SHELLPOINT stopped accepting Plaintiff’s
13
       mortgage payments in April 2020. Defendant SHELLPOINT then let Plaintiff’s
14
15     arrears build and did not request a payment until June 2022, at which time

16     Defendant demanded $221,927.91 which was payment in full for 2+ years of
17
       mortgage payments. (Exhibit E [email 3-30-2020]; Exhibit G [Notice of Default
18
19     9-8-2022].)
20
       16.   On March 30, 2020, when Shellpoint suspended ACH withdrawals on
21
22     Plaintiff’s account pursuant to approving him for a forbearance, Defendant

23     SHELLPOINT was aware of two facts which were 1) Plaintiff did not qualify for
24
       loan modification because there was over $1M ($1,000,000.00) in equity on Clover
25
26     Place and 2) Plaintiff did not qualify for Covid forbearance and deferment because
27
       he had an existing delinquency. (Exhibit E [email Shellpoint 3-30-2020]; Exhibit
28
       H [email Gibson 11-18-2022].)
                                                -7-
                                       VERIFIED COMPLAINT
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 1     17.   On March 30, 2020, along with suspending acceptance of Plaintiff’s

 2     payments, the approval letter that Defendant SHELLPOINT provided only vague
 3
       generic promises that at the end of the period Defendant would “evaluate you for
 4
 5     additional options… which could include a repayment plan or possibly a loan
 6
       modification … to bring your loan current.” (Exhibit E [email Shellpoint-3-30-
 7
 8     2020].) Defendant gave no warning that Plaintiff would be able to suspend his

 9     payments (forbearance) but would not be able to add these payments to the end of
10
       his loan (deferment) because his delinquency disqualified him. (Exhibit O
11
12     [Mortgage Summary 11-11-2022].) They gave no indication that his high equity
13
       to debt ratio, equity acquired in the nine years since his loan modification,
14
15     disqualified him for another loan modification. (Exhibit C [loan mod 7-19-2013];

16     Exhibit N [email Shellpoint 11-23-2022].) Defendant gave no inkling that the
17
       entire forbearance amount would have to be paid back in one lump sum without
18
19     any deferment to the end of his loan which is what they actually demanded on
20
       September 8, 2022. (Exhibit K [Notice of Default 9-8-2022].) On March 30,
21
22     2020, at the time they suspended Plaintiff’s payments, according to Defendant

23     SHELLPOINT’s own criteria, and by what they knew according to their own
24
       business model, Plaintiff was not eligible for any loss mitigation whether
25
26     deferment or modification. (Exhibit E [email Shellpoint-3-30-2020].)
27
28


                                                 -8-
                                        VERIFIED COMPLAINT
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 1     18.   In June 2021, Plaintiff received notice that his forbearance was coming to an

 2     end and he began trying to call his single point of contact Anna Hernandez
 3
       (Hernandez).
 4
 5     19.   In July 2021, Plaintiff received another notice that his forbearance was
 6
       coming to an end and this time Hernandez responded to him. (Exhibit F
 7
 8     [Hernandez email 7-30-2021].) Hernandez told Plaintiff by email that an

 9     extension of his forbearance was granted and he also received a letter saying the
10
       same. (Exhibit F [Hernandez email 7-30-2021]; Exhibit G [Hernandez letter 8-
11
12     6-2021].) In this forbearance agreement Defendant SHELLPOINT promised that
13
       at least 30 days prior to the end of the Forbearance Plan, they would send Plaintiff
14
15     a Borrower’s Solution Package requesting financial information and

16     documentation of his financial circumstances and that they would provide
17
       information about alternatives that might be available to him at the end of the
18
19     forbearance plan term, such as a reinstatement, deferment, repayment plan or other
20
       alternatives to foreclosure. (Exhibit G [Hernandez Letter 8-6-2021].) This
21
22     language was consistent with California Civil Code 2923.5 (a)-(g) which requires

23     communication with a borrower regarding mitigation options prior to recording a
24
       Notice of Default. (Exhibit G [Hernandez Letter 8-6-2021]; Exhibit K [Notice
25
26     of Default 9-8-2022].)
27
       20.   On October 18, 2021, Plaintiff received a generic email from Defendant
28
       SHELLPOINT that his forbearance was coming to an end which contradicted what
                                                -9-
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 1   Hernandez said in her email and letter. (Exhibit H [Shellpoint email 10-18-2022];

 2   Exhibit F [Hernandez email 7-30-2021]; Exhibit G [Hernandez letter 8-6-
 3
     2021].) Confused, Plaintiff went on the SHELLPOINT website and made a
 4
 5   payment for November 2021. (Exhibit H [Mortgage statement 10-31-2021].) On
 6
     November 23, 2021, Plaintiff received another generic email from Defendant
 7
 8   SHELLPOINT which also said his forbearance had been completed. (Exhibit I

 9   [Shellpoint email 11-23-2021].) After making his November payment, Plaintiff
10
     logged onto his account with Defendant SHELLPOINT and saw through the portal
11
12   that he could extend his forbearance for another six months and Plaintiff chose that
13
     option.
14
15   21.   Around December 1, 2021, Plaintiff realized that there had been a

16   delinquency on his mortgage reporting since prior to the pandemic and he emailed
17
     Defendant SHELLPOINT’s agent Ann Hernandez about this, but she never told
18
19   him that this disqualified him for forbearance/ deferment according to Defendant’s
20
     criteria and stopped responding to him. (Exhibit O [Mortgage summary 11-11-
21
22   2022]; Exhibit R [Hernandez email 12-1-2021].)

23   22.   On June 22, 2022, Plaintiff received another generic notice from Defendant
24
     SHELLPOINT that his “forbearance plan” had been completed. (Exhibit J [email
25
26   Shellpoint-6-22-2022].) In another correspondence Defendant SHELLPOINT
27
     assigned Plaintiff a single point of contact named Barbara Lewis who did not
28
     answer her phone and never called him back or answered emails. A month passed,
                                             -10-
                                     VERIFIED COMPLAINT
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 1   and then another, with no response from Ms. Lewis. Plaintiff was never sent a

 2   “Borrower’s Solution Package” or provided with information about alternatives to
 3
     foreclosure as promised the year before. (Exhibit G [Hernandez Letter 8-6-
 4
 5   2021].)
 6
     23.   Starting in June 2022, and continuing through July and August, when
 7
 8   Plaintiff could not get through to Barbara Lewis, he began calling other agents of

 9   Defendant SHELLPOINT and filling out and uploading documents as they
10
     requested including a Uniform Borrower’s Assistance Form, a Non-Borrower
11
12   Contribution Form, a Taxpayer Consent Form and a Profit & Loss worksheet form.
13
     Plaintiff had to get these documents sent to him because he was locked out of
14
15   Defendant’s system.

16   24.   On September 8, 2022, Defendant SHELLPOINT recorded a Notice of
17
     Default. (Exhibit K [Notice of Default 9-8-2022].) This Notice of Default
18
19   contained a Declaration of Due Diligence by Loss Mitigation Specialist Xinh Dinh,
20
     someone Plaintiff never spoke to, claiming that Plaintiff had been contacted to
21
22   “assess the borrower’s financial situation and explore options for the borrower to

23   avoid foreclosure” prior to August 17, 2022. (Exhibit K [Notice of Default 9-8-
24
     2022].) This language was similar to the promise in the August 6, 2021 letter
25
26   when Defendant SHELLPOINT promised that they would send Plaintiff a
27
     “Borrower’s Solution Package” and provide him with information about
28
     alternatives to foreclosure, but that never happened either before or after that Due
                                              -11-
                                      VERIFIED COMPLAINT
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 1   Diligence Declaration and Notice of Default was recorded. (Exhibit K [Notice of

 2   Default 9-8-2022]; Exhibit G [Hernandez Letter 8-6-2021].) Plaintiff had not
 3
     been evaluated by his single point of contact Barbara Lewis, or anyone, for any
 4
 5   loss mitigation option prior to Defendant SHELLPOINT recording that Due
 6
     Diligence Declaration and Notice of Default. (Exhibit K [Notice of Default 9-8-
 7
 8   2022].)

 9   25.   On October 17, 2022, Plaintiff managed to get a new point of contact,
10
     Defendant SHELLPOINT’s agent Larry Curtis, who was not his single point of
11
12   contact, but who was responsive to his emails.
13
     26.   On October, 21, 2022, Defendant SHELLPOINT’s agent Larry Curtis
14
15   requested documents from Plaintiff as if he were still being evaluated for a

16   modification. (Exhibit L [email Shellpoint 11-23-2022].) This was six weeks
17
     after the Notice of Default was recorded. (Exhibit K [Notice of Default 9-8-
18
19   2022].)
20
     27.   On October 25, 2022, almost seven weeks after the Notice of Default was
21
22   recorded, Plaintiff came the closest to an “initial evaluation” such as was promised

23   in the August 6, 2021 letter when Defendant SHELLPOINT’s agent Larry Curtis
24
     simply told Plaintiff he was ineligible for any mortgage relief. (Exhibit K [Notice
25
26   of Default 9-8-2022]; Exhibit N [email Shellpoint 11-23-2022].)       It was on
27
     October 23, 2022 that Defendant SHELLPOINT’s agent Larry Curtis finally told
28
     Plaintiff two things that were known to Defendant SHELLPOINT from the time
                                             -12-
                                     VERIFIED COMPLAINT
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 1   they sent the first approval letter to Plaintiff on March 30, 2020 when they

 2   suspended accepting his payments which were: 1) that Plaintiff did not qualify for
 3
     loan modification because there was over $1M ($1,000,000.00) in equity on Clover
 4
 5   Place and 2) Plaintiff did not qualify for Covid deferment to the back end of his
 6
     loan because he had an existing delinquency of 60 days at the beginning of the
 7
 8   pandemic. (Exhibit E [email Shellpoint 3-30-2020]; Exhibit M [email Gibson

 9   11-18-2022]; Exhibit O [Mortgage Summary 11-11-2022].) When Plaintiff
10
     explained that his income had now substantially returned, Defendant’s agent Curtis
11
12   also told Plaintiff that didn’t matter; even if he was earning an additional
13
     $30,000.00 per month Defendant, Curtis said, SHELLPOINT wouldn’t care
14
15   because they were only interested in foreclosing given his equity position.

16   28.   On October 25, 2022, Defendant SHELLPOINT’s agent Larry Curtis
17
     documented this conversation in an email where he told Plaintiff that an initial
18
19   evaluation had finally been conducted and Plaintiff did not qualify for a loan
20
     modification. (Exhibit N [email Shellpoint 11-23-2022].) Curtis then told Plaintiff
21
22   to contact his unreachable single point of contact Barbara Lewis and tossed the hot

23   potato to her. (Exhibit N [email Shellpoint 11-23-2022].) Plaintiff asked Curtis to
24
     document this conversation and he did that in his email of October 25, 2022, but he
25
26   did not document what he had personally told Plaintiff which was that Defendant
27
     SHELLPOINT didn’t care about Plaintiff’s ability to pay and was only interested
28
     in foreclosing given Plaintiff’s equity position.
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                                      VERIFIED COMPLAINT
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 1   29.   On Friday November 15, 2022 Plaintiff spoke to Defendant

 2   SHELLPOINT’s agent Hernandez and proposed to pay $100,000.00 of his
 3
     deferred payments immediately if Defendant would agree to add the rest of his
 4
 5   arrears onto the end of his loan as additional payments. (Exhibit M [email Gibson
 6
     11-18-2022].) Plaintiff received no response to this offer just as Hernandez had
 7
 8   never responded to help fix the mistaken delinquency. (Exhibit O [Mortgage

 9   summary 11-11-2022]; Exhibit R [Hernandez email 12-1-2021].)
10
     30.   On November 30, 2022, Plaintiff requested Defendant SHELLPOINT’s
11
12   agent Larry Curtis to postpone any further foreclosure proceedings, specifically the
13
     Notice of Trustee’s Sale which Defendant might record as soon as December 8,
14
15   2020 and Defendant SHELLPOINT told Plaintiff that it would have an answer to

16   his proposal within 10 to 15 days, that time being past the date of December 9,
17
     2022 when a Notice of Trustee’s Sale could be recorded. (Exhibit P [Email
18
19   Gibson 11-30-2022].)
20
     31.   On December 8, 2022 Plaintiff received wiring instructions and a request
21
22   that he immediately, within 24 hours, wire $100,000.00 to Defendant

23   SHELLPOINT at which point he would receive “an 18-month deferment.”
24
     (Exhibit L [email Shellpoint 12-8-2022].) Along with this demand for
25
26   $100,000.00 there was no written modification agreement and no explanation of
27
     what was meant by “an 18-month deferment.” (Exhibit L [email Shellpoint 12-8-
28
     2022].) Finally understanding that he was being encouraged to pay this
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 1   $100,000.00 to Defendant SHELLPOINT which would then strand him in the

 2   same position 18 months from now facing foreclosure, Plaintiff sought counsel.
 3
                               FIRST CAUSE OF ACTION
 4
                                        Negligence
 5                          (Against Defendant SHELLPOINT)
 6
     32.   Plaintiff hereby incorporates by reference each and every one of the
 7
 8   preceding paragraphs as if the same were fully set forth herein.

 9   33.   “[A]s a general rule, a financial institution owes no duty of care to a
10
     borrower when the institutions involvement in the loan transaction does not exceed
11
12   the scope of its conventional role as a mere lender of money.” Nymark v. Heart
13
     Fed. Sav. & Loan Assn., 231 Cal.App.3d. 1089, 1096, 2083 Cal. Rptr. 53, 56 (Ct.
14
15   App. 1991). A financial institution exceeds the scope of a conventional money

16   lender when it “Actively participates” beyond the “normal supervision” applied by
17
     a lender in protecting the value of its security interest. Wagner v. Benson, 101 Cal.
18
19   App. 3d 27, 35, 161 Cal. Rptr. 516 (Ct. App. 1980). Defendant SHELLPOINT
20
     exceeded the scope of an ordinary lender, and acted negligently, on March 20,
21
22   2020 when they cut off Plaintiff’s ACH withdrawal and stopped accepting

23   payments from him without evaluating whether he could qualify for any of their
24
     programs which they later informed him he did not. Wagner, supra at 35; (Exhibit
25
26   E [email 3-30-2020]; Exhibit N [email Shellpoint 11-23-2022].) Defendant
27
     SHELLPOINT’s intention was to blow past all statutory protections in place to
28
     protect Plaintiff as shown by how brazenly they recorded a Notice of Default and
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 1   false due diligence declaration without ever evaluating him for loss mitigation.

 2   (Exhibit K [Notice of Default 9-8-2022].)
 3
     34.   The negligence per se doctrine is codified in Evidence Code §669(a), under
 4
 5   which negligence is presumed if the plaintiff establishes four elements: (1) the
 6
     defendant violated a statute, ordinance, or regulation; (2) the violation proximately
 7
 8   caused death or injury to person or property; (3) the death or injury resulted from

 9   an occurrence the nature of which the statute, ordinance, or regulation was
10
     designed to prevent; and (4) the person suffering the death or the injury to his
11
12   person or property was one of the class of persons for whose protection the statute,
13
     ordinance, or regulation was adopted. Alcala v. Vazmar Corp, 167 Cal. App. 4th
14
15   747, 755, 84 Cal. Rptr. 3d 402, 407 (2008). Defendant SHELLPOINT did not

16   exercise due diligence as laid out in California Civil Code 2923.5 (a)-(g) prior to
17
     recording a notice of default and is in violation of that statute. (Exhibit K [Notice
18
19   of Default 9-8-2022].) The Due Diligence Declaration recorded on September 8,
20
     2022 along with the Notice of Default by Loss Mitigation Specialist Xinh Dinh,
21
22   someone Plaintiff never spoke to, falsely claims that Plaintiff was contacted to

23   “assess the borrower’s financial situation and explore options for the borrower to
24
     avoid foreclosure” prior to August 17, 2022. (Exhibit K [Notice of Default 9-8-
25
26   2022].) Plaintiff’s evidence of his emails with Defendant SHELLPOINT’s agent
27
     Larry Curtis show that an “initial evaluation” did not occur until October 25, 2022
28
     which was almost two months after the Notice of Default and the Due Diligence
                                              -16-
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 1   declaration were recorded. (Exhibit K [Notice of Default 9-8-2022]; Exhibit N

 2   [email Shellpoint 11-23-2022].) When Plaintiff tried to talk to Defendant
 3
     SHELLPOINT’s agent Anna Hernandez about the mistaken delinquency on his
 4
 5   account, she not only didn’t tell him this disqualified him from a covid forbearance
 6
     deferment, she stopped communicating with him. (Exhibit O [Mortgage
 7
 8   summary 11-11-2022]; Exhibit R [Hernandez email 12-1-2021].) This

 9   intentional deception was in violation of Cal. Civil Code §2923.5 and caused
10
     Plaintiff to be squeezed between a Notice of Default already recorded, affecting his
11
12   ability to borrow money and potentially refinance the debt, and a denial of his right
13
     to modify leaving him with no options; leaving him stuck in exactly the kind of
14
15   trap that Cal. Civil Code §2923.5 was designed to protect against.

16   35.   The doctrine of negligence per se is not a separate cause of action, but
17
     creates an evidentiary presumption that affects the standard of care in a cause of
18
19   action for negligence.” Johnson v. Honeywell Internat. Inc., 179 Cal. App. 4th 549,
20
     555, 101 Cal. Rptr. 3d 726, 731 (2009). In Plaintiff’s case, the standard of care
21
22   should have been for Defendant SHELLPOINT to approve or deny Plaintiff for

23   modification or forbearance before recording a Notice of Default as the statute
24
     requires and the result of their not doing so is an impairment of his ability to
25
26   refinance and a tried-and-true servicer trick to shove a borrower into foreclosure.
27
     California Civil Code 2923.5 (a)-(g).
28


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 1   36.   Because of the damages caused to Plaintiff’s credit and his ability to

 2   refinance after two years of missed payments, as well as a Notice of Default
 3
     wrongfully recorded, Plaintiff seeks compensatory and exemplary damages as well
 4
 5   as attorney fees.
 6
                              SECOND CAUSE OF ACTION
 7                             Intentional Misrepresentation
 8                          (Against Defendant SHELLPOINT)

 9   37.   Plaintiff hereby incorporates by reference each and every one of the
10
     preceding paragraphs as if the same were fully set forth herein.
11
12   38.   One who willfully deceives another with intent to induce him to alter his
13
     position to his injury or risk, is liable for any damage which he thereby suffers.
14
15   Cal. Civ. Code §1709. Defendant SHELLPOINT could have sent a generic

16   informational letter to Plaintiff about forbearance which would not have exposed
17
     them to any liability but instead they told Plaintiff he was approved for forbearance
18
19   and suspending his ACH payments to lure him into reliance. (Exhibit E [email 3-
20
     30-2020].) They did this without any review. (Exhibit E [email 3-30-2020].) In
21
22   December 2021, when Plaintiff tried to talk to Defendant SHELLPOINT’s agent

23   Anna Hernandez about the mistaken delinquency, she avoided responding to him.
24
     (Exhibit O [Mortgage summary 11-11-2022]; Exhibit R [Hernandez email 12-
25
26   1-2021].) A few months later, Defendant recorded a Notice of Default to further
27
     trap him into a financial corner so that he could not modify or refinance his
28
     mortgage elsewhere, but instead would be trapped either paying them back the full
                                              -18-
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 1   amount or being foreclosed upon. (Exhibit K [Notice of Default 9-8-2022].)

 2   Defendant SHELLPOINT did this knowing that every loan in Defendant
 3
     SHELLPOINT’s portfolio is a delinquent loan not eligible for Covid 19 relief by
 4
 5   deferment and forbearance.
 6
     39.   These were intentional acts, outside the normal scope of their usual
 7
 8   activities, taken to induce his reliance and subject Plaintiff to risk, injury and

 9   damages. (Exhibit E [email 3-30-2020].)
10
     40.   For the intentional nature of these actions, Plaintiff seeks compensatory and
11
12   exemplary damages as well as attorney fees.
13
                               THIRD CAUSE OF ACTION
14                                   Promissory Estoppel
15                           (Against Defendant SHELLPOINT)

16   41.   Plaintiff hereby incorporates by reference each preceding paragraph as if the
17
     same were fully set forth herein.
18
19   42.   The elements of promissory estoppel are (1) a promise, (2) the promisor
20
     should reasonably expect the promise to induce action or forbearance on the part of
21
22   the promisee or a third person, (3) the promise induces action or forbearance by the

23   promisee or a third person (which we refer to as detrimental reliance) and 4)
24
     injustice can be avoided only by enforcement of the promise. Kajima/ Ray Wilson
25
26   v. Los Angeles County Metropolitan Transportation Authority, 23 Cal. 4th 305,
27
     310, 96 Cal. Rptr. 2d 747, 1 P. 3d 64 (200); see Rest. 2d Contracts § 90, subd. (1).
28


                                               -19-
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 1   43.   In this case there was a promise made by letter, and reinforced by Defendant

 2   SHELLPOINT’s agents, that Plaintiff was being considered for a loan modification
 3
     and that Defendant would not foreclose until Plaintiff was evaluated for a
 4
 5   meaningful forbearance that includes a deferment and/ or modification. (Exhibit E
 6
     [email 3-30-2020]; Exhibit J [email Shellpoint-6-22-2022].) Defendant
 7
 8   SHELLPOINT made these promises to induce Plaintiff’s reliance while

 9   simultaneously recording a Notice of Default. (Exhibit K [Notice of Default 9-8-
10
     2022].) The Notice of Default that Defendant recorded without any interaction
11
12   with Plaintiff included a fraudulent Due Diligence declaration that shows that
13
     Defendant had no intention of reviewing Plaintiff for forbearance or modification
14
15   and that their only intention was to trick him and to foreclose. (Exhibit K [Notice

16   of Default 9-8-2022].)
17
     44.   Injustice can only be avoided in this case by Defendant SHELLPOINT being
18
19   forced to keep the promise they made to Plaintiff for a deferment pursuant to his
20
     forbearance and/ or modification.
21
22                            FOURTH CAUSE OF ACTION
                Violation of the Business and Professions Code §17200 et al.
23                         (Against Defendant SHELLPOINT)
24
     45.   Plaintiff hereby incorporates by reference each preceding paragraph as if the
25
26   same were fully set forth herein.
27
     46.   Business and Professions Code §17200, the unfair competition law, permits
28
     civil recovery for “any unlawful, unfair or fraudulent business act or practice.”
                                              -20-
                                      VERIFIED COMPLAINT
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 1   Rufini v. CitiMortgage, Inc., 227 Cal. App. 4th 299, 310, 173 Cal. Rptr. 3d 422,

 2   431 (2014), as modified on denial of reh'g (July 22, 2014)
 3
     47.   The statutory language referring to ‘any unlawful, unfair or fraudulent’
 4
 5   practice (italics added) makes clear that a practice may be deemed unfair even if
 6
     not specifically proscribed by some other law. Cel–Tech Communications, Inc. v.
 7
 8   Los Angeles Cellular Telephone Co., 20 Cal.4th 163, 83 Cal.Rptr.2d 548, 973 P.2d

 9   527(1999). Business and Professions Code section 17200 is written in the
10
     disjunctive and establishes three varieties of unfair competition--acts or practices
11
12   which are unlawful, or unfair, or fraudulent and a practice can be prohibited as
13
     ‘unfair’ or ‘deceptive’ even if not ‘unlawful’ and vice versa.”’” (Cal-Tech, supra at
14
15   180, 83 Cal.Rptr.2d 548, 973 P.2d 527, italics added; see also Yanting Zhang v.

16   Superior Court (2013) 57 Cal.4th 364, 370, 159 Cal.Rptr.3d 672, 304 P.3d 163.)
17
     48.   It is a violation of Cal. Penal Code 115PC to make false statements on
18
19   recorded documents such as the false declaration of due diligence that Defendant
20
     SHELLPOINT recorded along with a notice of default. (Exhibit K [Notice of
21
22   Default 9-8-2022].).

23   49.   It is a violation of California Civil Code 2923.5 (a)-(g) to record a notice of
24
     default prior to evaluating a borrower for loss-mitigation. (Exhibit K [Notice of
25
26   Default 9-8-2022].) It was also public policy to help borrowers during the
27
     pandemic, making Defendant SHELLPOINT’s blatant deception and violation of
28
     statute especially vile and opportunistic.
                                              -21-
                                      VERIFIED COMPLAINT
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 1   50.   The two remedies available to redress violations of the UCL are injunctive

 2   relief and restitution. Feitelberg v. Credit Suisse First Boston, LLC, 134
 3
     Cal.App.4th 997, 1012 (2005). Restitution means "to restore the status quo by
 4
 5   returning to the plaintiff funds in which he or she has an ownership interest."
 6
     Korea Supply Co. v. Lockheed Martin Corp., 29 Ca1.4th 1134, 1149 (2003).
 7
 8   Restitution necessarily requires that "money or property have been lost by a

 9   plaintiff, on the one hand, and that it have been acquired by a defendant, on the
10
     other." Kwikset Corp. V. Superior Court, 51 Ca1.4th 310, 336 (2011). Plaintiff
11
12   therefore seeks r
13
     51.   Plaintiff seeks an order that Defendant SHELLPOINT must provide him
14
15   with a forbearance that defers his missed payments onto the end of his loan to

16   restore him to the status quo. To also return him to the status quo, Plaintiff seeks an
17
     order that Defendant SHELLPOINT rescind the Notice of Default from the County
18
19   Records so that he may restore his credit.
20
21
22
23
24
25
26
27
28


                                              -22-
                                      VERIFIED COMPLAINT
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 1                                PRAYER FOR RELIEF

 2   Wherefore, Plaintiff prays for judgment against Defendants, and each of them, as
 3   follows:
 4
        a) Plaintiff seeks compensatory and exemplary damages and attorney fees
 5
           for Defendant SHELLPOINT’s intentional misrepresentation and
 6
 7         negligence.
 8
        b) Pursuant to the UCL, Plaintiff seeks restitution to the status quo via a
 9
10         forbearance and a rescission of the Notice of Default recorded against
11
           Clover Place.
12
        c) Plaintiff seeks attorney fees for the cost of bringing this action
13
14      d) Plaintiff seeks exemplary damages in the amount of $275,000.00 for the
15
           intentional nature of defendants’ fraud and as a deterrent.
16
17
18
     Dated: December 09, 2022                      GOMEZ LAW, APC
19
20                                          By:
21                                                 Susan M. Murphy.
                                                   Attorney for Plaintiff,
22
                                                   ANTHONY GIBSON
23
24
25
26
27
28


                                             -23-
                                     VERIFIED COMPLAINT
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 1
                 VERIFICATION OF COMPLAINT - ANTHONY GIBSON

 2   I, ANTHONY GIBSON, hereby declare:
 3
             I am the Plaintiff in the above-entitled action. I have read the forgoing
 4
     complaint and know the contents thereof. With respect to the causes of action alleged
 5
 6   by me, the same is true by my own knowledge, except as to those matters which are
 7   therein stated on information and belief, and, as to those matters, I believe them to be
 8
     true.
 9
10           I declare under penalty of perjury under the laws of the State of California, that

11   the foregoing is true and correct.
12
13
                 12/09/22
     Executed on __________ in the city of Los Angeles, California.
14
15
16                                               ___________________________
17                                               ANTHONY GIBSON, Plaintiff.

18
19
20
21
22
23
24
25
26
27
28
                                   VERIFICATION OF COMPLAINT
